                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA


CHARLES ALBERT LIND,

                             Plaintiff,

                   v.                         Case No. 4:18-cv-00028-RRB

SILAS HESSLER,

                              Defendant.



                                ORDER OF DISMISSAL

         On August 7, 2018, self-represented litigant Charles Albert Lind filed “claim:

trespass (unlawful papers)” along with the $400.00 filing fee, a “notice filing fee,”

and a “notice: signature.” 1 The Court will treat this as a complaint under Federal Rule

of Civil Procedure 7(a).

         In his complaint, Mr. Lind alleges that “the causal agent of the trespass,

comes by way of its use of a unlawful paper;” and “trespass did and does harm

and injury to my property.” 2 Mr. Lind alleges the “commencement of the wrong

and harm began on 5 July 2017 5:51 PM location Mile 360 Northbound Richardson

Highway Fairbanks; the wrong and harm continues to this day.” 3 Mr. Lind names




1   Dockets 1-3.
2   Docket 1.
3   Docket 1.



          Case 4:18-cv-00028-RRB Document 13 Filed 03/18/19 Page 1 of 6
Silas Hessler in the caption as “wrongdoer,” which this Court interprets as

defendant. For relief, Mr. Lind requests $20,000.00 in “compensation.” 4

                                  SCREENING STANDARD

         The United States Supreme Court has established that “the federal courts

are under an independent obligation to examine their own jurisdiction[.]” 5 In a

federal court proceeding, a jurisdictional defect may be raised at any time. 6

                                         DISCUSSION

         Mr. Lind alleges trespass against Mr. Hessler. This tort claim is traditionally

litigated in state court. Without a federal question or diverse parties, this Court has

no jurisdiction to hear his case. Therefore, Mr. Lind’s action must be dismissed.

                                           Jurisdiction

         Jurisdiction is “[a] court's power to decide a case or issue a decree.” 7 A

court’s subject matter jurisdiction is its “statutory or constitutional power to

adjudicate a case.” 8 As a federal court, this Court has limited subject matter

jurisdiction. It possesses “only that power authorized by the Constitution and




4   Docket 1.
5   United States v. Hays, 515 U.S. 737, 742 (1995).
6   Washington Environmental Council v. Bellon, 732 F.3d 1131, 1139 (9th Cir. 2013).
7   Black’s Law Dictionary (9th ed. 2009) (definition of “jurisdiction”).
8   Steel Co. v. Citizens for Better Environment, 523 U.S. 83, 89 (1998).

4:18-cv-28-RRB, Lind v. Hessler.
Order to Dismiss
Page 2 of 6

           Case 4:18-cv-00028-RRB Document 13 Filed 03/18/19 Page 2 of 6
statute.” 9 This means that the Court has the authority to hear only specified types

of cases. 10 “In civil cases, subject matter jurisdiction is generally conferred upon

federal district courts either through diversity jurisdiction, 28 U.S.C. § 1332, or

federal question jurisdiction, 28 U.S.C. § 1331.” 11

         Federal question jurisdiction provides a federal court the authority to

consider cases brought under the United States Constitution or federal statutes. 12

The complaint does not address a federal statute or raise a viable constitutional

issue. 13 Because the complaint does not clearly describe a violation of the U.S.

Constitution or a federal statute that is redressable by a private citizen in federal

court, this Court does not have federal question jurisdiction over this case.

         Diversity jurisdiction requires that the plaintiff have “citizenship which is

diverse from that of every defendant” and an amount in controversy greater than

$75,000. 14      This means that this Court could have jurisdiction over a case


9Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (citations omitted);
see also, e.g. A-Z Intern. v. Phillips, 323 F.3d 1141, 1145 (9th Cir. 2003).
10 See, e.g., United States v. Marks, 530 F.3d 779, 810 (9th Cir. 2008), citing
DaimlerChrysler v. Cuno, 547 U.S. 332, 342 (2006); United States v. Sumner, 226 F.3d
1005, 1010 (9th Cir. 2000).
11   Peralta v. Hispanic Bus., Inc., 419 F.3d 1064, 1068 (9th Cir. 2005).
12   28 U.S.C. § 1331.
13   See Docket 1.
14 28 U.S.C. § 1332; See Cook v. AVI Casino Enterprises, Inc., 548 F.3d 718, 722 (9th
Cir. 2008) (quoting Caterpillar, Inc. v. Lewis, 519 U.S. 61, 68 (1996) (diversity jurisdiction
requires “complete diversity of citizenship”)).

4:18-cv-28-RRB, Lind v. Hessler.
Order to Dismiss
Page 3 of 6

           Case 4:18-cv-00028-RRB Document 13 Filed 03/18/19 Page 3 of 6
(including one involving only state law issues) where the plaintiff demonstrates that

he is a citizen of a different state than the citizenship of each of the defendants. 15

However, if any of the defendants share citizenship with Mr. Lind, then no diversity

jurisdiction exists. 16 While Mr. Lind does not formally establish citizenship, the

pleadings indicate that Mr. Lind, a purported landowner, and his defendant,

Mr. Hessler—allegedly an Alaska State Trooper, are likely Alaska citizens. 17

Additionally, the complaint establishes $20,000.00 as the amount in controversy.

This amount is well below the required amount. Because he has not demonstrated

diverse citizenship here, nor an amount in controversy, this Court does not have

diversity jurisdiction over his complaint.

           This Court has neither federal question jurisdiction, nor diversity jurisdiction

over this case. Therefore, this Court has no subject matter jurisdiction over this

matter. When a court determines “that it lacks subject matter jurisdiction, the court

must dismiss the action.” 18 In light of the foregoing, Mr. Lind’s complaint must be

dismissed without leave to amend for lack of subject matter jurisdiction.




15   Id. (quoting Kokkonen, 511 U.S. at 377).
16   Id.
17   See Docket 1.
18   Fed. R. Civ. P. (12)(h)(3).

4:18-cv-28-RRB, Lind v. Hessler.
Order to Dismiss
Page 4 of 6

            Case 4:18-cv-00028-RRB Document 13 Filed 03/18/19 Page 4 of 6
                                   Futility of Amendment

         A Court’s decision to grant or deny leave to amend a complaint is

discretionary. 19 The complaint does not present either a federal question or a

diversity claim. Tort claims, like trespass, are most often litigated in state court,

and a claim such as Mr. Lind’s is most appropriately litigated there. As such,

amendment of the complaint is futile and leave to amend will not be granted.

                                        Filing Fee

         At Docket 2, Mr. Lind submits a four page document titled “notice filing fee.”

In this filing Mr. Lind states “It is my wish not to be charged a fee and I do not want

to diminish my standing to that of a pauper.” 20 After some additional narrative Mr.

Lind states, “So please just take the $400.00 because I need this action to move

now. For once this action is settled everything will be returned. If you wish to allow

me to proceed fee free please return the $400.00 check; to me;[.]” Liberally

construed, the Court interprets this to be a Motion for a Return of Filing Fee.

         Mr. Lind’s action is dismissed for lack of subject matter jurisdiction without

leave to amend and without prejudice. The Court grants Mr. Lind’s request to



19Foman v. Davis, 371 U.S. 178, 182 (1962) (establishing that leave to amend a
complaint should be freely given unless to do so would be futile); see also Cato v.
United States, 70 F.3d 1103, 1106 (9th Cir. 1995) (stating that “[a] district court should
not dismiss a pro se complaint without leave to amend unless it is absolutely clear that
the deficiencies of the complaint could not be cured by amendment.”).
20   Docket 2 at 1.

4:18-cv-28-RRB, Lind v. Hessler.
Order to Dismiss
Page 5 of 6

           Case 4:18-cv-00028-RRB Document 13 Filed 03/18/19 Page 5 of 6
return his filing fee. The Court takes judicial notice of his recently filed case 4:19-

cv-00005-SLG, which lists his address as the Fairbanks Rescue Mission and

different from this action. Mr. Lind is instructed to confirm his current address with

the Court in writing, so that his fee may be returned.


IT IS THEREFORE ORDERED:

   1. The action is dismissed without prejudice for lack of subject matter

       jurisdiction.

   2. The “notice filing fee,” which this Court interprets as a Motion to Return Filing

       Fee is GRANTED.

   3. Mr. Lind is instructed to contact the Court in writing to confirm his current

       address. Mr. Lind is reminded that it is his responsibility to update the court

       with his current address.

   4. The Clerk of Court is directed to submit a final judgment accordingly.

DATED at Anchorage, Alaska this 18th day of March, 2019.

                                              /s/ Ralph R. Beistline
                                              Senior United States District Judge




4:18-cv-28-RRB, Lind v. Hessler.
Order to Dismiss
Page 6 of 6

         Case 4:18-cv-00028-RRB Document 13 Filed 03/18/19 Page 6 of 6
